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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: DION GAINES v. SHERIFF OF                      Case Number: 20-cv-3487
            COOK COUNTY THOMAS J.
            DART, et al.
An appearance is hereby filed by the undersigned as attorney for:
Sheriff of Cook County Thomas J. Dart
Attorney name (type or print): Ethan E. White

Firm: Emery Law, Ltd.

Street address: 2021 Midwest Road, Suite 200

City/State/Zip: Oak Brook, IL 60523

Bar ID Number: 6297938                                     Telephone Number: 630-984-0339
(See item 3 in instructions)

Email Address: ewhite@emerylawltd.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on September 11, 2020

Attorney signature:            S/ Ethan E. White
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
